     Case 1:04-cv-00798-PLF-GMH Document 1201 Filed 08/03/19 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                                )
                       Plaintiff,               )
                                                )
               v.                               )     Civil Case No. 1:04-00798 (PLF/GMH)
                                                )
ALL ASSETS HELD AT BANK JULIUS                  )
Baer & Company, Ltd., Guernsey                  )
Branch, account number 121128, in the           )
name of Pavlo Lazarenko, et al.,                )
                                                )
                       Defendants In Rem,       )
                                                )


                           ORDER GRANTING PLAINTIFF’S MOTION
                                FOR EXTENSION OF TIME

         Having considered the Plaintiff’s motion, the Court hereby GRANTS Plaintiff’s motion

  for extension, and extends the Plaintiff’s deadline for filing its ex parte classified brief and a

  redacted version of the same to August 12, 2019.

         IT IS SO ORDERED.


  This 2nd     day of August              , 2019.

                                                                             Digitally signed by G.
                                                                             Michael Harvey
                                                                             Date: 2019.08.02
                                                                             12:07:40 -04'00'
                                                      Hon. Judge Harvey
